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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
      v.                            )  Criminal No. 1:17-cr-0046-RBW
                                    )
KASSIM TAJIDEEN and                 )
IMAD HASSOUN,                       )
                                    )
                  Defendants.       )
___________________________________ )

           ADDENDUM TO DEFENDANT’S SENTENCING MEMORANDUM

       Defendant Kassim Tajideen, through undersigned counsel, submits this Addendum to his

Sentencing Memorandum (ECF 239) for the purpose of suggesting a form of recommendation by

the Court to the U.S. Bureau of Prisons. Defendant will request at the sentencing hearing that the

Court consider appending this form to the Judgment. The proposed form, attached hereto as

Exhibit 1, would (1) recommend that Mr. Tajideen be designated for incarceration at FCI Butner

Low; (2) provide medical reasons therefor; and (3) recommend transfer to the Kingdom of

Belgium as soon as practicable.

       At the sentencing hearing today, counsel will provide an update on recent developments

in the defendant’s medical condition that support portions of the proposed form.
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Dated: August 9, 2019                                     Respectfully submitted,


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institutional endorsement for this private representation.
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                                                      2
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 9, 2019, the foregoing was filed with the Court’s

CM/ECF Service and provided by email to counsel of record.



                                                       /s/ John J. Connolly
                                                 John J. Connolly
